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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE:         FEMA TRAILER                                         MDL 1873
               FORMALDEHYDE PRODUCTS
               LIABILITY LITIGATION                                 SECTION “N” (5)

                                                                    JUDGE ENGELHARDT
                                                                    MAGISTRATE CHASEZ

THIS DOCUMENT PERTAINS TO

Doc # 1:10 CV58 HSO-JMR;
Dorothy Dillon, et al v.
Dutchmen Manufacturing, Inc. et al


   AMENDED EXHIBIT A TO PLAINTIFFS’ AMENDED COMPLAINT
        PURSUANT TO PRETRIAL ORDER 53 AND CTO-24

       In compliance with Pretrial Order 53 (Rec. Doc. 9073) and pursuant to CTO-24,

Plaintiffs hereby amend Exhibit A to their Amended Complaint to match the following Plaintiffs

to the following Contractor/Installer Defendants:

                              Installed by Bechtel National, Inc.


Dorothy Dillon                                      Jeree Lawrence
55 Ellis Dillon Road                                12413 John Lee Road, Lot 63
Tylertown, MS 39667                                 Biloxi, MS 39532

Wilkie F. Dillon                                    Ashleigh Lawrence
55 Ellis Dillon Road                                12413 John Lee Road, Lot 63
Tylertown, MS 39667                                 Biloxi, MS 39532

Ceola Kennedy                                       Ruby Raiford
4004 East Service Road, Apt. 201                    13780 Vidalia Road, #95
West Memphis, AR 72301                              Pass Christian, MS 39571




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Teri Yount
2906 Belair Street
Pascagoula, MS 39567

Mark A. Yount
2906 Belair Street
Pascagoula, MS 39567

A. C. Y., Minor, Teri Yount, Mother and
Personal Representative
2906 Belair Street
Pascagoula, MS 39567

A. Y., Minor, Teri Yount, Mother and
Personal Representative
2906 Belair Street
Pascagoula, MS 39567

Aretha Davison
2113 Seneca Avenue
Pascagoula, MS 39567

N. D., Minor, Aretha Davison, Mother and
Personal Representative
2113 Seneca Avenue
Pascagoula, MS 39567

K. D., Minor, Aretha Davison, Mother and
Personal Representative
2113 Seneca Avenue
Pascagoula, MS 39567

B. M., Minor, Aretha Davison, Mother and
Personal Representative
2113 Seneca Avenue
Pascagoula, MS 39567

M. M., Minor, Aretha Davison, Mother and
Personal Representative
2113 Seneca Avenue
Pascagoula, MS 39567
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                           Installed by CH2M Hill Constructors, Inc.

Alice Fay Smith
9955 Brent Avenue
Vancleave, MS 39565


                                              Respectfully submitted,

                                              Law Office of Frank J. D’Amico, Jr., APLC

                                              /s/ Frank J. D’Amico, Jr.____________
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                                              Catherine Jacobs, Esq. (MSB # 2979)
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                                              Ocean Springs, MS 39564
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                                              Fax: (228) 872-4698
                                              Email: cathyftla@gamil.com

                                              ATTORNEYS FOR PLAINTIFFS




                                 CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading was served on all counsel of record

through electronic notification pursuant to the electronic filing of the United States District Court

for the Eastern District of Louisiana this 18th day of June, 2010.



                                              ____/s/ Frank J. D’Amico, Jr.____


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